                    IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION

 HONEYWELL INTERNATIONAL INC.,                         )
 HAND HELD PRODUCTS, INC., and                         )
 METROLOGIC INSTRUMENTS, INC.,                         )
                                                       )
           Plaintiffs,                                 )
                                                       )
 v.                                                    )       Case No. 3:21-cv-00506
                                                       )
 OPTO ELECTRONICS CO., LTD.,                           )       JURY TRIAL DEMANDED
                                                       )
           Defendant.                                  )




                            NOTICE OF APPEAL OF
                     DEFENDANT OPTO ELECTRONICS CO., LTD.

        Notice is hereby given that Defendant OPTO Electronics Co., Ltd. (“OPTO”) appeals

to the United States Court of Appeals for the Fourth Circuit from the Judgment entered in this

action on July 20, 2023 (Dkt. 353), as amended July 26, 2023 (Dkt. 358); the Order entered

in this action on September 27, 2023 (Dkt. 394) denying OPTO’s Motion for Judgment as a

Matter of Law; and all orders, opinions, and rulings that merge into the Judgment, including

but not limited to the Order entered in this action on April 20, 2023 (Dkt. 195) granting partial

summary judgment to Plaintiffs and denying summary judgment to OPTO.


       Dated: October 4, 2023
                                            Respectfully submitted,
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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 4th day of October, 2023, the foregoing was served upon all
counsel of record via the Court’s CM/ECF System.

                                             /s/ Robert A. Muckenfuss
                                             Robert A. Muckenfuss




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